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Alaska Bar No. 9806016

Attorneys for Great Divide Insurance Company


                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

GREAT DIVIDE INSURANCE COMPANY,                )
a North Dakota Corporation,                    )
                                               )
            Plaintiff,                         )
                                               )
v.                                             )
                                               )
SOUND DEVELOPMENT LLC,                         )
JEREMY TWADDLE, DIANA TWADDLE,                 )
TODD FLEMING, BRANDI FLEMING,                  )
CHRISTINE MCGRAW, ANDREW FRISKE,               )
REBECCA FRISKE, KORI LINDSTROM,                )
GUILLERMO DIAZ, GUADALUPE DIAZ,                )
KORI LINDSTROM, as personal representative     )
of the ESTATE OF ELMER DIAZ,                   )
KORI LINDSTROM, as personal representative     )
of the ESTATE OF ULISES DIAZ, and              )
CITY AND BOROUGH OF SITKA,                     )
                                               )
            Defendants.                        ) Case No. 3:17-cv-00103-TMB
                                               )

                STIPULATION TO DISMISS WITH PREJUDICE




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       COME NOW the parties, by and through their respective counsel of record, and

hereby stipulate and agree, pursuant to Fed. R. Civ. P. 41 (a)(1(A)(ii), that any and all

claims asserted, or that could have been asserted, by plaintiff, against defendants, are to be

dismissed with prejudice, with the parties to bear their own attorney fees and costs.

              DATED this 3rd day of November 2017.

                                     HOZUBIN, MOBERLY, LYNCH & ASSOCIATES
                                     Attorneys for Plaintiff Great Divide Insurance Company


                               By: s/ Rebecca J. Hozubin
                                   Rebecca J. Hozubin
                                   Alaska Bar No. 9806016


              DATED this 3rd day of November 2017.

                                     BLISS WILKENS
                                     Attorneys for Defendant City and Borough of Sitka


                               By: s/ James K. Wilkens
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              DATED this 3rd day of November 2017.

                                     LAW OFFICES OF ROYCE & BRAIN
                                     Attorneys for Defendant Christine McGraw


                               By: s/ Raymond H. Royce, III
                                   Raymond H. Royce, III
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        DATED this 3rd day of November 2017.

                              LESSMEIER & WINTERS, LLC
                              Attorneys for Defendant Sound Development LLC
                              Attorneys for Defendant Jeremy Twaddle
                              Attorneys for Defendant Diana Twaddle
                              Attorneys for Defendant Todd Fleming
                              Attorneys for Defendant Brandi Fleming


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                              Attorneys for Defendant Rebecca Friske
                              Attorneys for Defendant Kori Lindstrom]
                              Attorneys for Defendant Guillermo Diaz]
                              Attorneys for Defendant Guadalupe Diaz]
                              Attorneys for Defendant Kori Lindstrom as P/R to Estate of
                              Elmer Diaz
                              Attorneys for Defendant Kori Lindstrom as P/R to Estate of
                              Ulises Diaz

                        By: s/ Michael Cohn
                            Michael Cohn
                            Alaska Bar No. 8506049




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    CERTIFICATE OF SERVICE
    This is to certify that the aforementioned
    was served electronically via CM/ECF on
    the 3rd day of November 2017 on the following:

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    HOZUBIN, MOBERLY, LYNCH & ASSOCIATES

    By: s/ Rebecca J. Hozubin
    4824.34/Court Docs/Stip to Dismiss




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